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                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF COLORADO

In Re:                                                                                         Chapter 13
                                                                                  Case No. 18-18542-EEB

PAUL GEORGE HARDY and STEPHANIE JO HARDY, Debtors,

U.S. BANK NATIONAL ASSOCIATION, Movant.


                    STIPULATION FOR RELIEF FROM AUTOMATIC STAY IF
                              UNCURED DEFAULT OCCURS


       PAUL GEORGE HARDY and STEPHANIE JO HARDY ("Debtors"), by and through
counsel, and U.S. BANK NATIONAL ASSOCIATION, ("Movant"), by and through counsel
(Collectively the "Parties"), hereby Stipulate as follows:

        1.     Debtors are the owners of a personal residence known as 13102 BELLAIRE
DRIVE, THORNTON, COLORADO 80241, which is encumbered by a Promissory Note in the
original principal amount of $190,000.00 and secured by a Deed of Trust for the benefit of
Movant. The property is described as:

          LOT 1, BLOCK 4, COUNTRY HILLS SUBDIVISION FILING NO. 4, AMENDMENT
          NO. 1, COUNTY OF ADAMS, STATE OF COLORADO.

        2.      Debtors have filed a petition in bankruptcy requesting relief pursuant to Chapter
13, Title 11, U.S. Bankruptcy Code.

        3.     Debtors and Movant agree that Debtors are in default and in arrears with post-
petition mortgage payments as follows:

5 Missed Payments (Nov. 2018 through March 2019) @ $1,693.42 each:                         $8,467.10
LESS funds in Debtor’s suspense account:                                                   ($1,693.06)
Total:                                                                                     $6,774.04

       4.      Debtors and Movant agree that Debtors shall cure the existing post-petition
arrearages and default as set forth below:

                     a.          In April, 2019, Debtors shall timely make the contractual mortgage
                                payment for the month of April, 2019 and, on or before the 15 th day of the
                                month, make an additional payment of $1,129.00 to be applied to the post-
                                petition arrearages.

                     b.         In May, 2019, Debtors shall timely make the contractual mortgage
                                payment for the month of May, 2019 and, on or before the 15 th day of the
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                                month, make an additional payment of $1,129.00 to be applied to the post-
                                petition arrearages.

                     c.         In June, 2019, Debtors shall timely make the contractual mortgage
                                payment for the month of June, 2019 and, on or before the 15 th day of the
                                month, make an additional payment of $1,129.00 to be applied to the post-
                                petition arrearages.

                     d.         In July, 2019, Debtors shall timely make the contractual mortgage
                                payment for the month of July, 2019 and, on or before the 15 th day of the
                                month, make an additional payment of $1,129.00 to be applied to the post-
                                petition arrearages.

                     e.         In August, 2019, Debtors shall timely make the contractual mortgage
                                payment for the month of August, 2019 and, on or before the 15th day of
                                the month, make an additional payment of $1,129.00 to be applied to the
                                post-petition arrearages.

                     f.         In September, 2019, Debtors shall timely make the contractual mortgage
                                payment for the month of September, 2019 and, on or before the 15 th day
                                of the month, make an additional payment of $1,129.04 to be applied to
                                the post-petition arrearages.

       5.       Debtor agrees to timely make all further post-petition payments pursuant to the
contractual terms of the Promissory Note and Deed of Trust. Payment is due on the payment
date specified in the Promissory Note and Deed of Trust. There is no grace period.

       6.     Debtor agrees to timely pay all other applicable assessments and/or encumbrances
on the Property. Any notice of nonpayment of these expenses shall be considered a default
under the terms of this Stipulation.

       7.     Debtor agrees to timely pay all sums due for property taxes, insurance and like
expenses applicable to the real property that are contractually required by the Promissory Note
and Deed of Trust. Any notice of nonpayment of these expenses shall be considered a default
under the terms of this Stipulation.

        8.      The Parties agree that Movant is entitled to immediate relief from the automatic
stay if an uncured default occurs. Debtor acknowledges that by entering into this Stipulation,
Debtor understands, agrees to, and has been advised to Debtor’s satisfaction of the legal
ramifications of entering into this Stipulation. Debtor further acknowledges that the terms of this
Stipulation are performance-specific and there is no grace period. In consideration for entering
into this Stipulation, Movant agrees to forebear the institution of foreclosure proceedings so long
as Debtor complies with the terms set forth herein. In the event Debtor defaults under the terms
of this Stipulation, Movant agrees to provide a ONE-TIME written notice of default to Debtor
and Debtor’s counsel. If a Notice of Default is sent by Movant, the default must be cured by
Debtor and accepted by Movant within ten (10) days of the date of the notice or the forbearance
agreement contained herein is terminated. Movant shall only provide ONE notice of default to
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Debtor. Should the default not be cured within ten (10) days of the date of such notice, then
Movant will file a Verified Motion to Enforce the Terms of the Stipulation, indicating that
Debtor has failed to comply with the terms of this Stipulation and Order and requesting that
Movant be granted relief from the automatic stay pursuant to this stipulation. Movant will mail a
copy of the Verified Motion to Debtor and Debtor’s counsel, although Debtor agrees that the
Verified Motion to Enforce Terms of the Stipulation and for Relief from Stay shall be granted ex
parte without a hearing.

                     a.         Notice of any matters to which notice is required under this Stipulation
                                shall be given to each party at the address listed below. Notice for the
                                purpose of default shall be made by placing the Notice of Default in the
                                U.S. mail, postage prepaid.

                     b.         Any change of address shall be designated pursuant to the notice
                                provisions and shall be deemed given when mailed to the parties at the
                                addresses designated pursuant to the notice provision.

                     c.         If Debtor and counsel for Debtor are given notice pursuant to this
                                provision, notice shall be mailed to the addresses set forth at the end of
                                this Stipulation.

                     d.         If Movant and counsel for Movant are given notice pursuant to this
                                provision, notice shall be mailed via certified mail - return receipt to the
                                addresses set forth at the end of this Stipulation.

       9.      Debtors request and hereby authorize Movant to resume mailing its monthly
statements to Debtors.

        10.    The Parties stipulate that conversion of this proceeding to a Chapter 7 shall be
considered a default under the terms of this stipulation. Immediately following the effective
conversion of this proceeding to Chapter 7, Movant will file its Verified Motion to Enforce the
Terms of the Stipulation, indicating that Movant is entitled to relief upon conversion. Movant
will mail a copy of the said Verified Motion to Debtor and Debtor's Counsel, although Debtor
agrees that said Verified Motion to Enforce Terms of the Stipulation and for Relief from Stay
shall be granted ex parte without a hearing.

        11.     The Parties agree that, upon termination of the automatic stay under the
conditions described herein, the Chapter 13 Trustee shall make no further distribution to Creditor
on its secured claim.

       12.           The Parties agree that the requirements of Fed.R.B.P. 4001(a)(3) do not apply and
are waived.

       13.     The Parties agree that this Stipulation may be signed in counterparts and a
facsimile signature may be relied upon as if it were an original signature.

          14.        The Parties request that the Court make this Stipulation an Order of Court.
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       15.           The Parties further request that any hearing scheduled on the Motion for Relief be
vacated.


       March 10, 2019
Dated: ______________                                          3/15/2019
                                                       Dated: ______________

___________________________________                    /s/ Joseph DeGiorgio
                                                       ___________________________________
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